                 5:21-cv-00884-BHH           Date Filed 10/06/21            Entry Number 16          Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                           UNITED STATES DISTRICT COURT
                                                            for the
                                                  District of South Carolina


                    Debbie Owens                                   )
                         Plaintiff
                                                                   )
                      v.                                                    Civil Action No.5:21-884-BHH
                                                                   )
       Commissioner of the Social Security
                                                                   )
               Administration
                        Defendant                                  )

                                JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                    recover from the defendant (name)                         the amount of

dollars ($ ), which includes prejudgment interest at the rate of       %, plus postjudgment interest at the rate of   %, along

with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)

recover costs from the plaintiff (name)                                 .

O other: This action is remanded to the Commissioner for further evaluation under the fourth

sentence of 42 U.S.C. § 405(g).


This action was (check one):

u tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.


u tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Bruce H. Hendricks, United States District Judge, who granted Defendant’s
Motion to Remand.

                                                                         ROBIN L. BLUME
Date:         October 6 , 2021                                          CLERK OF COURT


                                                                        s/ Glenda J. Nance
                                                                               Signature of Clerk or Deputy Clerk
